                    Case: 23-2330
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                                   COURT OF12   Page: FOR
                                             APPEALS  1   Date
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                                                               THIRD 11/13/2023
                                                                       CIRCUIT

                                                       No. 23-2330

                         Ryan Givey                            vs. United States Department of Justice, et al.

                                                  ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 United States Department of Justice; Jennifer A. Williams
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                  ____ Appellant(s)                ____ Intervenor(s)

         ____ Respondent(s)                   ✔ Appellee(s)
                                             ____                             ____ Amicus Curiae

(Type or Print) Counsel’s Name Mark  J. Sherer, AUSA
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SIGNATURE OF COUNSEL: /s/ Mark J. Sherer

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REV. 10/20/2020
